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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                BROWNSVILLE DIVISION

 STATE OF TEXAS ET AL.                     §
                                           §
        Plaintiffs,                        §
                                           §
        v.                                 §        Civil Action No. 1:14-cv-254
                                           §
 UNITED STATES OF AMERICA ET AL.           §
                                           §
        Defendants.                        §

                      PLAINTIFFS’ NOTICE OF VOLUNTARY DISMISSAL

      On June 15, 2017, the U.S. Department of Homeland Security released a mem-

orandum entitled Rescission of November 20, 2014 Memorandum Providing for De-

ferred Action for Parents of Americans and Lawful Permanent Residents (“DAPA”).

On September 5, 2017, the Department released a memorandum entitled Rescission

of the June 15, 2012 Memorandum Entitled “Exercising Prosecutorial Discretion with

Respect to Individuals Who Came to the United States as Children.” Given these mem-

oranda rescinding the DAPA program and phasing out the DACA and Expanded

DACA programs, Plaintiffs file this notice voluntarily dismissing this action. See Fed.

R. Civ. P. 41(a)(1)(A) (allowing plaintiffs to dismiss an action, without court order, by

filing a notice of dismissal before the opposing party serves either an answer or a

motion for summary judgment).

      Pursuant to Federal Rule of Civil Procedure 41(a)(1)(B), this dismissal is with-

out prejudice because Plaintiffs have not previously dismissed any federal- or state-

court action based on or including the same claim.




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                                Respectfully submitted.

                                KEN PAXTON
                                Attorney General of Texas

                                JEFFREY C. MATEER
                                First Assistant Attorney General

                                BRANTLEY STARR
                                Deputy First Assistant Attorney General

                                /s/ Angela V. Colmenero
                                ANGELA V. COLMENERO
                                Assistant Attorney General
                                Attorney-in-Charge
                                TX Bar No. 24048399
                                Southern District ID No. 1002881

                                ADAM N. BITTER
                                Assistant Attorney General
                                TX Bar No. 24085070
                                Southern District ID No. 2167538

                                ERIC A. HUDSON
                                ADAM ARTHUR BIGGS
                                Assistant Attorneys General

                                Office of the Attorney General of Texas
                                P.O. Box 12548
                                Austin, TX 78711-2548
                                (512) 936-1700

                                COUNSEL FOR PLAINTIFF STATES




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                            CERTIFICATE OF SERVICE

       I hereby certify that on this 5th day of September, 2017, the foregoing was
electronically filed with the Clerk of the Court using the CM/ECF system and served
on all attorney(s) and/or parties of record, via the CM/ECF service.


                                      /s/ Angela V. Colmenero
                                      ANGELA V. COLMENERO
                                      Assistant Attorney General




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